
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM
| Respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline, in which respondent acknowledges that he neglected his client’s legal matter. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Elbert Lee Guillory, Louisiana Bar Roll number 17622, be and he hereby is publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
